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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS
                                   WESTERN DIVISION

TAMARA GREEN, et al.,

             Plaintiffs/Counterdefendants,

             v.
                                                       Case No.: 3:14-cv-30211-MGM-DHH
WILLIAM H. COSBY, JR.,

              Defendant/Counterplaintiff.


                      PLAINTIFFS’ STATUS REPORT OF APRIL 5, 2019

        COME NOW the Plaintiffs, by and through their counsel, and hereby advise the Court of

the status of this case, as follows:

        1.        Plaintiffs’ claims against Defendant William H. Cosby, Jr. have been settled.

Each Plaintiff is satisfied with the settlement. Contemporaneously with this Report, Plaintiffs

are filing a Motion for Entry of Order Dismissing Claims as Settled.

        2.        Mr. Cosby’s Counterclaims remain pending against the Plaintiffs (henceforth

referred to only as “Counterdefendants”).

        3.        Should the Court lift the stay on this case and allow the Counterclaims to proceed,

for planning purposes the Counterdefendants hereby advise the Court of several dispositive

motions that they intend to file within the next 45 days, which Counterdefendants believe will

narrow the matters at issue in this case. Counterdefendants submit that a briefing schedule may

promote efficiency, judicial economy, and the parties’ interests. The anticipated motions

include, but are not limited to: (1) a motion for summary judgment as to all Counterclaims

against Counterdefendant Therese Serignese on the ground that Mr. Cosby cannot establish that

Ms. Serignese made a false statement with actual malice (with an accompanying motion for
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sanctions, if Mr. Cosby does not dismiss these Counterclaims with prejudice); (2) a motion for

summary judgment as to all Counterclaims against Counterdefendant Louisa Moritz, on the

ground that she is deceased; (3) a motion for judgment on the pleadings as to the non-defamation

Counterclaims, on the ground that they are duplicative of the defamation Counterclaims; and, (4)

a motion for judgment on the pleadings as to Mr. Cosby’s requests for punitive damages,

injunctive relief, and attorney fees, on the ground that the Counterclaims do not support these

forms of relief, in part or in whole.

       4.      Furthermore, following the disposition of the motions, Counterdefendants also

intend to engage in various forms of discovery, including but not limited to serving upon Mr.

Cosby additional Interrogatories, Requests for Production of Documents, and Requests for

Admission; taking Mr. Cosby’s deposition; and taking the depositions duces tecum and/or ad

testificandum of persons with discoverable information regarding liability and/or damages.


                                                     Respectfully submitted,


                                                     /s/ Joseph Cammarata___________
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                               CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the NEF on April 5, 2019.


                                                    /s/ Joseph Cammarata
                                                    Joseph Cammarata
